447 F.2d 515
    George A. CLARK, Plaintiff-Appellant,v.The DIRECTOR, UNITED STATES AIR FORCE ACCOUNTING AND FINANCECENTER, Defendant-Appellee.No. 71-2102 Summary Calendar.**Rule 18, 5 Cir.; see Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Sept. 13, 1971.
    
      George A. Clark pro. se.
      Seagal V. Wheatley, U.S. Atty., Charles B. Tennison, San Antonio, Tex., for defendant-appellee.
      Appeal from the United States District Court for the Western District of Texas; John H. Wood, Jr., district Judge.
      Before COLEMAN, SIMPSON, and MORGAN, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      
        1
         See N.L.R.B. v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    